Case 5:14-cv-00947-SMH-MLH Document 44 Filed 09/17/15 Page 1 of 1 PageID #: 416



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 WILLIAM RANDALL                                          CIVIL ACTION NO. 14-0947

 VERSUS                                                   JUDGE S. MAURICE HICKS, JR.

 UNITED PETROLEUM TRANSPORTS,                             MAGISTRATE JUDGE HORNSBY
 INC.

                                         JUDGMENT

         Based on the foregoing Memorandum Ruling,

         IT IS ORDERED that the Motion for Summary Judgment (Record Document 21) filed

 by the Defendant, United Petroleum Transports, Inc., be and is hereby GRANTED. The

 Americans with Disabilities Act discrimination claims filed by the Plaintiff, William Randall,

 be and are hereby DISMISSED WITH PREJUDICE.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 17th day of September,

 2015.
